
690 S.E.2d 273 (2008)
Joseph HORRY, Jr.
v.
David H. WOODBURY, Individually, and as the Executor of the Estate of Ruth N. Horry.
No. 198A08.
Supreme Court of North Carolina.
August 26, 2008.
Travis K. Morton, Raleigh, for Joseph Horry.
Josiah S. Murray, III, Durham, for Woodbury.
Prior report: 189 N.C.App. 669, 659 S.E.2d 88.

ORDER
Upon consideration of the petition filed on the 2nd day of May 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th day of August 2008."
